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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES             *
                          *
    v.                    *   Case No. 21-cr-00190-DLF
                          *
ZACHARY JORDAN ALAM       *
                          *
*   *   *   *    *    *   *   *    *     *     *    *  *
MOTION TO DISMISS COUNT THREE, FIVE, SIX, SEVEN & EIGHT OF
           THE FIRST SUPERSEDING INDICTMENT

        The Defendant, Zachary Jordan Alam, by and through his attorneys, Michael

E. Lawlor, and Brennan, McKenna & Lawlor, Chtd, respectfully requests that this

dismiss Counts Three, Five and Six, Seven and Eight of the First Superseding

Indictment, and in support of this Motion states as follows.

   I.      Introduction


        Mr. Alam is charged in an eleven-count criminal Indictment for alleged

offenses related to the storming of the U.S. Capitol on January 6, 2021. Specifically,

Mr. Alam is charged with assaulting, resisting, or impeding certain officers, in

violation of 18 USC § 111(a)(1) (“Count One”); assaulting, resisting, or impeding

certain officers using a dangerous weapon, in violation of 18 USC §§ 111(a)(1) and

(b) (“Count Two”); civil disorder and aiding and abetting, in violation of 18 USC §§

231 (a)(3) and 2 (“Count Three”); destruction of government property, in violation


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of 18 USC § 1361 (“Count Four”); obstruction of an official proceeding and aiding

and abetting, in violation of 18 USC §§ 1512 (c)(2) and 2 (“Count Five”); entering

and remaining in a restricted building with a deadly or dangerous weapon, in

violation of 18 USC § 1752(a)(1) and (b)(1)(A) (“Count Six”); disorderly and

disruptive conduct in a restricted building with a deadly or dangerous weapon, in

violation of 18 USC § 1752(a)(2) and (b)(1)(A) (“Count Seven”); engaging in

physical violence in a restricted building with a deadly or dangerous weapon, in

violation of 18 USC § 1752(a)(4) and (b)(1)(A) (“Count Eight”); disorderly conduct

in a capitol building, in violation of 40 USC § 5104(e)(2)(D) (“Count Nine”); act of

physical violence in the capitol building, in violation of 40 USC § 5104(e)(2)(F)

(“Count Ten”); parading, demonstrating, or picketing in a capitol Building, in

violation of 40 USC § 5104(e)(2)(G) (“Count Eleven).

         Mr. Alam moves this Honorable Court to dismiss Counts Three, Five, Six,

Seven and Eight of the First Superseding Indictment for the reasons set forth below.

   II.      Applicable Law

            a. Motion to Dismiss

         An indictment must be a “plain, concise, and definite written statement of the

essential facts constituting the offense charged.” FED. R. CRIM. P. 7(c)(1). An

indictment “must provide the defendant sufficient detail to allow him to prepare a

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defense, to defend against a subsequent prosecution of the same offense, and to

ensure that he be prosecuted upon facts presented to the grand jury.” United States

v. Apodaca, 275 F. Supp. 3d 123, 153 (D.D.C. 2017) (citing Russell v. United States,

369 U.S. 749 (1962), and Stirone v. United States, 361 U.S. 212 (1960)).

      A defendant “may raise by pretrial motion any defense, objection, or request

that the Court can determine without a trial on the merits.” FED. R. CRIM. P.

12(b)(3)(B). Rule 12 provides that a defendant may also move to dismiss the

indictment for “failure to state an offense” and “lack of specificity.” F ED. R. CRIM.

P. 12(b)(3)(B)(iii), (v). In considering a Rule 12 motion to dismiss, “the Court is

bound to accept the facts stated in the indictment as true.” United States v. Syring,

522 F. Supp. 2d 125, 128 (D.D.C. 2007); United States v. Sampson, 371 U.S. 75, 78

(1962). Accordingly, “the Court cannot consider facts beyond the four corners of the

indictment.” United States v. Ring, 628 F. Supp. 2d 195, 204 (D.D.C. 2009) (internal

quotations omitted).

         b. Statutory Interpretation


      To determine the legislative intent of a law, courts “always, [ ] begin with the

text of the statute.” Am. Fed’n of Gov’t Emps., AFL-CIO, Local 3669 v. Shinseki,

709 F.3d 29, 33 (D.C. Cir. 2013). “It is elementary that the meaning of a statute

must, in the first instance, be sought in the language in which the act is framed, and

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if that is plain . . . the sole function of the courts is to enforce it according to its

terms.” United States v. Hite, 769 F.3d 1154, 1160 (D.C. Cir. 2014) (quoting

Caminetti v. United States, 242 U.S. 470, 485 (1917) (internal quotes omitted)). “The

search for the meaning of the statute must also include an examination of the

statute’s context and history.” Hite, 769 F.3d at 1160 (citing Bailey v. United States,

516 U.S. 137, 144-45 (1995)). Importantly, “due process bars courts from applying

a novel construction of a criminal statute to conduct that neither the statute nor any

prior judicial decision has fairly disclosed to be within its scope.” United States v.

Lanier, 520 U.S. 259, 266 (1997).

          c. Vagueness

      A criminal statute is unconstitutionally vague if it “fails to give ordinary

people fair notice of the conduct it punishes, or [is] so standardless that it invites

arbitrary enforcement.” United States v. Bronstein, 849 F.3d 1101, 1106 (D.C. Cir.

2017) (quoting Johnson v. United States, 576 U.S. 591, 595 (2015)). “The

touchstone is whether the statute, either standing alone or as construed, made it

reasonably clear at the relevant time that the defendant’s conduct was criminal.”

United States v. Lanier, 520 U.S. 259 (1997). The void-for-vagueness doctrine

protects against arbitrary or discriminatory law enforcement. Sessions v. Dimaya,

138 S. Ct. 1204, 1212 (2018) (citing Kolender v. Lawson, 461 U.S. 352, 358 (1983)).

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   III.    The Court Should Dismiss Count Three Alleging Civil Disorder


      Count Three of the Superseding Indictment charges Mr. Alam with a violation

of 18 U.S.C. § 231(a)(3), as follows:

      On or about January 6, 2021, within the District of Columbia, Zachary
      Jordan Alam, committed and attempted to commit an act to obstruct,
      impede, and interfere with a law enforcement officer, that is, an officer
      from the United States Capitol Police, lawfully engaged in the lawful
      performance of his official duties incident to and during commission of
      a civil disorder which in any way and degree obstructed, delayed, and
      adversely affected commerce and the movement of any article and
      commodity in commerce and the conduct and performance of any
      federally protected function.

ECF Dkt. No. 36, 3.

      18 U.S.C. § 231(a)(3), Civil disorders, provides that:


      Whoever commits or attempts to commit any act to obstruct, impede,
      or interfere with any fireman or law enforcement officer lawfully
      engaged in the lawful performance of his official duties incident to and
      during the commission of a civil disorder which in any way or degree
      obstructs, delays, or adversely affects commerce or the movement of
      any article or commodity in commerce or the conduct or performance
      of any federally protected function shall be fined under this title or
      imprisoned not more than five years or both.

18 U.S.C. § 231(a)(3) (emphasis added). This subsection of the civil disorder penal

statute is overbroad and unconstitutionally vague because §231(a)(3)’s imprecise

and subjective standards fail to provide fair notice and creates significant risk of



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arbitrary enforcement. Further, several of the statute’s terms are so broad and

indefinite as to impose unqualified burdens on a range of protected expression.


         a. Section 231(a)(3) is Unconstitutionally Vague


      “The prohibition of vagueness in criminal statutes ‘is a well-recognized

requirement, consonant alike with ordinary notions of fair play and the settled rules

of law,’ and a statute that flouts it ‘violates the first essential of due process.’”

Johnson v. United States, 576 U.S. 591, 595 (2015) (quoting Connally v. General

Constr. Co., 269 U.S. 385, 391 (1926)). As the Supreme Court has explained,


      [i]t is a basic principle of due process that an enactment is void for
      vagueness if its prohibitions are not clearly defined. Vague laws offend
      several important values. First, because we assume that man is free to
      steer between lawful and unlawful conduct, we insist that laws give the
      person of ordinary intelligence a reasonable opportunity to know what
      is prohibited, so that he may act accordingly. Vague laws may trap the
      innocent by not providing fair warning. Second, if arbitrary and
      discriminatory enforcement is to be prevented, laws must provide
      explicit standards for those who apply them. A vague law
      impermissibly delegates basic policy matters to policemen, judges, and
      juries for resolution on an ad hoc and subjective basis, with the
      attendant dangers of arbitrary and discriminatory application. Third, but
      related, where a vague statute abuts upon sensitive areas of basic First
      Amendment freedoms, it operates to inhibit the exercise of those
      freedoms.

Grayned v. City of Rockford, 408 U.S. 104, 108 (1972) (internal citations and

quotations omitted). As mentioned by the Supreme Court in Grayned, vagueness

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concerns are most acute when the statute imposes criminal penalties and implicates

the First Amendment by chilling exercise of protected expression. See Kolender v.

Lawson, 461 U.S. 352, 358-59 n. 8 (1983); Village of Hoffman Estates v. Flipside,

455 U.S. 489, 498-99 (1982); see also Smith v. Goguen, 415 U.S. 566, 573 (1974)

(Where “a statute’s literal scope [reaches] expression sheltered by the First

Amendment, the [vagueness] doctrine demands a greater degree of specificity than

in other contexts.”).

      Section 231(a)(3) is replete with vague and imprecise terms that fail to provide

a person of ordinary intelligence a reasonable opportunity to know what conduct is

prohibited. The following examples are illustrative of §231(a)(3)’s vagueness.

                        “Any Act to Obstruct, Impede, or Interfere”

      By penalizing “any act to obstruct, impede, or interfere,” §231(a)(3) reaches

the outer limits of verbal and expressive conduct without drawing any distinction

that could exclude acts undertaken merely to convey a message or symbolic content.

See Roy v. City of Monroe, 950 F.3d 245, 252 (5th Cir. 2020) (acknowledging that

“[s]tanding alone . . . a prohibition on ‘any act [undertaken] in such a manner as to

disturb or alarm the public’ fails meaningfully to guide the police and thus poses a

substantial risk of arbitrary or discriminatory enforcement.”) (quoting Louisiana v.

Cox, 379 U.S. 536, 551-52 (1965)). The phrase “any act to obstruct, impede, or

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interfere” can fairly include within its plain meaning such diverse acts as pure

speech, expressive conduct, minimal jostling, or even grievous, violent assaults.

              “Incident to and During the Commission of a Civil Disorder”

       The phrasing “incident to and during the commission of a civil disorder” is

also problematic for its vagueness. The term “civil disorder,” as defined under

§232(1), is extremely far-reaching, applying to “any public disturbance involving

acts of violence by assemblages of three or more persons, which causes an

immediate danger of . . . injury to the property.” 18 U.S.C. § 232(1). This definition

of “civil disorder” offers no limitation to solve the vagueness problem because it

could apply to virtually any tumultuous public gathering to which police might be

called, not just large- scale protests or riots. Further, there is no indication within the

statute whether the defendant is required to have participated in the civil disorder, or

if it is sufficient that he or she be in the general vicinity of the event.

                                    Lack of Scienter

       The Supreme Court has repeatedly affirmed that “a scienter requirement may

mitigate a law’s vagueness, especially with respect to the adequacy of notice to the

complainant that his conduct is proscribed.” Vill. of Hoffman Ests. at 499. But here,

there is no such mitigation, because Section 231(a)(3) contains no scienter

requirement, thus creating ‘a trap for those who act in good faith.’” Colautti v.

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Franklin, 439 U.S. 379, 395 (1979) (quoting United States v. Ragen, 314 U.S. 513,

524 (1942)). Because the statute omits an express mens rea requirement, it is left to

police, prosecutors, and judges to decide whether the statute requires knowledge or

specific intent or neither. The absence of a scienter/mens rea element weighs in

further favor of the statute’s unconstitutionality.

      By enacting a statute with such imprecise language, Congress created “a

criminal prohibition of alarming breadth.” United States v. Stevens, 559 U.S. 460,

474 (2010). “Vague statutes threaten to hand responsibility for defining crimes to

relatively unaccountable police, prosecutors, and judges, eroding the people’s ability

to oversee the creation of the laws they are expected to abide.” United States v.

Davis, 139 S. Ct. 2319, 2325 (2019). Section 231(a)(3)’s scope “may entirely

depend” on a law enforcement official’s unbounded speculation about subjective

factors, Coates v. Cincinnati, 402 U.S. 611, 614 (1971), thus subjecting “individuals

to the risk of arbitrary or discriminatory prosecution and conviction.” United States

v. Kozminski, 487 U.S. 931, 949-50 (1988) (holding statute unconstitutionally vague

where liability “depend[ed] entirely upon the victim’s state of mind”).

      In Houston v. Hill, 482 U.S. 451 (1987), the Supreme Court declared

unconstitutional a municipal ordinance that made it unlawful to interrupt a police

officer in the performance of his or her duties, finding that the ordinance’s sweeping

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nature was neither “inevitable” nor “essential to maintain public order.” 482 U.S. at

464. Because the ordinance was “not narrowly tailored to prohibit only disorderly

conduct or fighting words,” it wrongly gave police “unfettered discretion to arrest

individuals for words or conduct that annoy or offend them.” Id. at 465. Similarly,

here, §231(a)(3) casts far too wide a net. By expansively encompassing “any act”

that could interfere with the duties of a police officer or firefighter during a civil

disorder, §231(a)(3) is not limited to “violent acts” or acts that result in bodily injury

or that otherwise put persons or property in imminent danger. C.f. United States v.

Reese, 92 U.S. (2 Otto) 214, 221 (1876) (“It would certainly be dangerous if the

legislature could set a net large enough to catch all possible offenders, and leave it

to the courts to step inside and say who could be rightfully detained, and who should

be set at large.”). Moreover, the statute does not weed out those acts with protected

expressive content or those that occur in a traditional public forum. Instead, as shall

be developed further, infra, §231(a)(3) reaches a substantial amount of expressive

conduct, and without clear boundaries, the law chills free speech and invites

discriminatory application by law enforcement and the government.




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             b. Section 231(a)(3) Impermissibly Criminalizes Protected Speech under
                the First Amendment

       “In the First Amendment context, . . . a law may be invalidated as overbroad

if ‘a substantial number of its applications are unconstitutional, judged in relation to

the statute’s plainly legitimate sweep.’” United States v. Stevens, 559 U.S. 460, 473

(2010) (quoting Washington State Grange v. Washington State Republican Party,

552 U.S. 442, 449 (2008)). The first Amendment protects expressive conduct like

cross-burning, flag-burning and assembly in inconvenient places.1 Conduct is

considered expressive, and therefore protected, under the First Amendment when it

“is intended to convey a ‘particularized message’ and the likelihood is great that the

message would be so understood.” Knox v. Brnovich, 907 F.3d 1167, 1181 (9th Cir.

2018) (quoting Nunez v. Davis, 169 F.3d 1222, 1226 (9th Cir. 1999)).

       The plain language of §231(a)(3) is at odds with the protections of the First

Amendment. Indeed, the broadness of §231(a)(3)’s scope would presumably

authorize a felony conviction for a bystander who yells at police to desist from an




       1
               See Virginia v. Black, 538 U.S. 343, 365-66 (2003) (“[S]ometimes the cross burning
is a statement of ideology, a symbol of group solidarity”); Texas v. Johnson, 491 U.S. 397, 405-
06 (1989) (flag burning constituted “expressive conduct” protected by the First Amendment);
Clark v. Cmty. For Creative Non-Violence, 468 U.S. 288, 293 (1984) (assuming that “sleeping in
connection with the demonstration is expressive conduct protected to some extent by the First
Amendment.”).


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arrest, one who flips off officers to distract or encourage resistance, or one who

records police activity with a cell phone. See Hill, 482 U.S. at 459 (“[W]e have

repeatedly invalidated laws that provide the police with unfettered discretion to

arrest individuals for words or conduct that annoy or offend them.”); Glick v.

Cunniffe, 655 F.3d 78, 83 (1st Cir. 2011) (“[T]he First Amendment protects the

filming of government officials in public places.”). The First Amendment does not

permit an unqualified prohibition on “interference” with police duties because “the

freedom of individuals verbally to oppose or challenge police action without thereby

risking arrest is one of the principal characteristics by which we distinguish a free

nation from a police state.” Hill, 482 U.S. at 462-462; see also McCoy v. City of

Columbia, 929 F. Supp. 2d 541, 550 (D.S.C. 2013) (invalidating a state statute for

overbreadth that made it “unlawful for any person to interfere with or molest a police

officer in the lawful discharge of his duties.”).

      Such broad criminal statutes like §231(a)(3) “must be scrutinized with

particular care.” Hill, 482 U.S. at 459; see also Winters v. New York, 333 U.S. 507,

515 (1948) (“The standards of certainty in statutes punishing for offenses is higher

than in those depending primarily upon civil sanction for enforcement.”). Criminal

laws that “make unlawful a substantial amount of constitutionally protected conduct

may be held facially invalid even if they also have legitimate application.” Id.

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Section 231(a)(3) extends to a substantial amount of constitutionally protected

speech and expressive conduct, well in excess of the law’s legitimate sweep.


           c. Section 231(a)(3) Cannot be Saved by Construction without Violating
              the Constitutional Separation of Powers
      Judicial interpretation cannot save §231(a)(3) from its constitutional

invalidity. A statute’s vagueness does not permit judges to “rewrite a law to confirm

it to constitutional requirements, for doing so would constitute a serious invasion of

the legislative domain, and sharply diminish Congress’s incentive to draft a narrowly

tailored law in the first place.” Stevens, 559 U.S. at 481. Rather, “[w]hen Congress

passes a vague law, the role of the courts under our Constitution is not to fashion a

new, clearer law to take its place, but to treat the law as a nullity and invite Congress

to try again.” Davis, 139 S. Ct. at 2323.

      For all of the foregoing reasons, Count Three of the Superseding Indictment

must be dismissed.

   IV.     The Court Should Dismiss Count Five Alleging Obstruction of an
           Official Proceeding
      Count Five of the First Superseding Indictment charges Mr. Alam with

violation 18 USC § 1512(c)(2), claiming that,

      On or about January 6, 2021, within the District of Columbia and
      elsewhere, Zachary Jordan Alam, attempted to, and did, corruptly
      obstruct, influence, and impede an official proceeding, that is, a
      proceeding before Congress, specifically, Congress’s certification of
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         the Electoral College vote as set out in the Twelfth Amendment of the
         Constitution of the United States and 3 U.S.C. §§ 15-18.

ECF Dkt. No. 36, 3.

         Section 1512(c) falls under Chapter 73 of Title 18, which deals with

“Obstruction of Justice.” See generally, 18 U.S.C. §§ 1501-1521. As the Ninth

Circuit has carefully considered and recognized, based on the plain language of the

statute, an offense under §1512(c) does not prohibit the obstruction of every

governmental function; it only prohibits the obstruction of proceedings such as a

hearing that takes place before a tribunal. See United States v. Ermoian, 752 F.3d

1165, 1179 (9th Cir. 2013). Stated differently, Section 1512(c), by its plain language,

does not criminalize the obstruction of legislative action by Congress. Any alleged

obstruction of the certification of the Electoral College vote is simply outside the

scope of §1512(c). Alternatively, on its face §1512 is constitutionally infirm because

of its inherent vagueness and arbitrary enforcement in the panoply of January 6 th

cases.

            a. Section 1512 Must be Strictly Construed

         18 U.S.C. § 1512 prohibits “corruptly. . . obstruct[ing], influenc[ing], or

imped[ing] any official proceeding, or attempt[ing] to do so.” Id. (emphasis added).

Section 1515(a)(1) of Chapter 73 of Title 18 defines an official proceeding as:


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      (A) a proceeding before a judge or court of the United States, a United
      States magistrate judge, a bankruptcy judge, a judge of the United
      States Tax Court, a special trial judge of the Tax Court, a judge of the
      United States Court of Federal Claims, or a Federal grand jury;

      (B) a proceeding before the Congress;

      (C) a proceeding before a Federal Government agency which is
      authorized by law; or

      (D) a proceeding involving the business of insurance whose activities
      affect interstate commerce before any insurance regulatory official or
      agency or any agent or examiner appointed by such official or agency
      to examine the affairs of any person engaged in the business of
      insurance whose activities affect interstate commerce[.]

18 USC § 1515(a)(1). Count Five of the First Superseding Indictment against Mr.

Alam concerns “a proceeding before the Congress” as set forth in 18 USC §

1515(a)(1)(B).

      With respect to 18 U.S.C. § 1512, the Supreme Court has instructed lower

courts to “exercise[] restraint in assessing the reach of [the] . . . statute both out of

deference to the prerogatives of Congress . . . and out of concern that a fair warning

should be given to the world in language that the common world will understand, of

what the law intends to do if a certain line is passed.” United States v. Arthur

Anderson, LLP, 544 U.S. 696, 703 (2005) (internal citations and quotations omitted)

(strictly construing §1512(b)(2)’s broadly worded language in finding that jury

instructions failed to instruct that knowledge of wrongdoing and proof of a nexus

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between the alleged obstruction and an official proceeding were required elements

of the offense).

             b. An “Official Proceeding” under 1512(c) Concerns the Administration
                of Justice

       A review of the text, history, and judicial interpretations of §1512, especially

in light of the Supreme Court’s long-standing guidance to strictly construe penal

statutes, demonstrates that §1512(c), which punishes obstruction of “official

proceedings,” does not apply to the Electoral College certification.2

       Ermoian was one of the first appellate decisions to consider the meaning of

“official proceeding” as that term is used in §1512(c) and defined in §1515. See

Ermoian, 752 F.3d at 1168 (“Our circuit has never before addressed the meaning of

the term ‘official proceeding’ as used in the obstruction of justice statute at 18 U.S.C.

§ 1512”). The Ermoian court, tasked with deciding whether a criminal investigation

by the FBI was considered an “official proceeding” for purposes of §1512(c), noted




       2
                 Congress counts the electoral votes pursuant to the Twelfth Amendment to the
United States Constitution and the Electoral Count Act of 1887, later codified in 3 U.S.C. § 15.
Congress counts the electoral votes after the states have already heard any disputes and certified
the vote. See Bush v. Gore, 531 U.S. 98, 154 (2000) (Breyer, J., dissenting). Members of Congress
may make an objection, in writing, and without argument. 3 U.S.C. § 15. According to the statute,
there is no testimony, no witnesses, no argument, and no evidence introduced at the electoral count.
The event is merely ceremonial. See Stephen A. Siegel, The Conscientious Congressman’s Guide
to the Electoral Count Act of 1887, 56 FLLR 541, 585 (2004).


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that “the definition of the phrase ‘official proceeding’ depends heavily on the

meaning of the word ‘proceeding.’” Id. at 1169.

      Reviewing the plain language of §1515, the Ermoian court explained that

“[s]everal aspects of the definition for ‘official proceeding’ suggest that the legal –

rather than lay – understanding of the term ‘proceeding’ is implicated in the statute.”

Id. at 1170. The court noted that “the descriptor ‘official’ indicates a sense of

formality normally associated with legal proceedings,” and not “a mere ‘action or

series of actions.’” Id. (citing “Proceeding,” Oxford English Dictionary, available

at http://www.oed.com). Moreover, the court pointed to the fact that “the word

‘proceeding’ is surrounded with other words that contemplate a legal usage of the

term, including ‘judge or court,’ ‘Federal grand jury,’ ‘Congress,’ and ‘Federal

Government agency.’” Id.

      The Ninth Circuit further observed that:

      Examining the term ‘proceeding’ within the grammatical structure of
      the definition at issue, it becomes clear that the term connotes some
      type of formal hearing. [Section 1515(a)(1)(C)] refers to proceedings
      “before a Federal Government agency” – a choice of phrase that would
      be odd if it were referring to criminal investigations. The use of the
      preposition “before” suggests an appearance in front of the agency
      sitting as a tribunal.

Id. at 1170-71 (internal citation omitted) (emphasis added); see also United States v.

Ramos, 537 F.3d 439, 462-63 (5th Cir. 2008) (“use [of] the preposition ‘before’ in

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connection with the term ‘Federal Government agency’ . . . implies that an ‘official

proceeding involves some formal convocation of the agency in which parties are

directed to appear.”). The court also considered that §1512 uses the terms

“attendance, “testimony,” “production” and “summon[]” when describing an official

proceeding, and found the use of these terms “strongly implie[d] that some formal

hearing before a tribunal is contemplated.” Id. at 1172.

       The logic and reasoning used by the Ermoian court in considering whether an

FBI investigation fell under the scope of §1512(c) applies with equal force to

interpreting the term “proceedings before the Congress.” Taking §1512 and the

definitions contained in §1515 as a whole, it is plain that the statute is directed at

conduct that interferes with the administration of justice.3 Even the title of the statute,

“Tampering with a witness, victim, or an informant,” suggests an adversarial




       3
                See McAndrew v. Lockheed Martin Corp., 206 F.3d 1031, 1039 (11th Cir.
2000)(“Section 1512 . . . applies to attempts to prevent or influence testimony not only in federal
courts but also before Congress, federal agencies, and insurance regulators.”)(emphasis added);
United States v. Dunn, 434 F. Supp. 2d 1203, 1207 (MD. Ga. 2006)(“ . . . § 1515(a)(1) . . .
describe[s] events that are best thought of as hearings (or something akin to hearings): for example,
federal court cases, grand jury testimony, Congressional testimony, and insurance regulatory
hearings.”)(emphasis added); United States v. Georgia, 2014 WL 2084891 (N.D. Georgia 2014)
(“official proceeding” for purposes of §1512(c) did not include a FBI investigation); United States
v. Sutherland, 921 F.3d 421 (4th Cir. 2019) (the term “proceeding” implies ‘some formal
convocation . . . in which parties are directed to appear”) (quoting United States v. Young, 916
F.3d 368, 384 (4th Cir. 2019)).

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proceeding related to the administration of justice.4 There is little doubt that §1512

only criminalizes obstructive conduct related to a hearing before a tribunal affecting

the administrative of justice and the ceremonial certification of the Electoral College

votes does not qualify as an “official proceeding” under the statute.5

             c. The Legislative History Demonstrates that § 1512(c) Concerns the
                Administration of Justice

       Section 1512(c)(2) was enacted as part of the Sarbanes-Oxley Act of 2002,

which was titled “Corporate Fraud Accountability,” and had the express purpose of

targeting “corporate malfeasance.” Pub. L. No. 107-204, 116 Stat. 745. Nothing in

the legislative history of the Sarbanes-Oxley Act supports the notion that Congress

enacted §1512(c)(2) to criminalize the disruption of a ceremony before Congress by

persons engaged in a political rally, no matter how large the crowd or how disorderly

the activities of some in the crowd may have become. Rather, the Sarbanes-Oxley


       4
                  See I.N.S. v. Nat’l Ctr. for Immigrants’ Rts., Inc., 502 U.S. 183, 189 (1991) (“[T]he
title of a statute or section can aid in resolving an ambiguity in the legislation’s text.”).
       5
                This interpretation is consistent with the case law that has clarified the meaning of
the statutory language at issue here. See e.g. Arthur Anderson, LLP, 544 U.S. at 708 (interpreting
§1512(c) as requiring that the defendant have “knowledge that his actions are likely to affect
[a]judicial proceeding” in order to have the “requisite intent to obstruct’); United States v. Burge,
711 F.3d 803, 809 (7th Cir. 2013)(considering the application of §1512 and noting that
“[o]bstruction of justice occurs when a defendant acts to impede the types of proceedings that take
place before judges or grand juries.”) cert. denied, 571 U.S. 888 (2014); United States v. Sampson,
898 F.3d 287, 300 (2d Cir. 2018)(noting that §1512 “broadly criminalizes various forms of witness
tampering”).


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Act “was prompted by the exposure of Enron’s massive accounting fraud and

revelations that the company’s outside auditor, Arthur Andersen LLP, had

systematically destroyed potentially incriminating documents.” Yates v. United

States, 574 U.S. 528, 535-36 (2015). The Senate Judiciary Committee report

described the Act’s purpose as “provid[ing] for criminal prosecution and enhanced

penalties of persons who defraud investors in publicly traded securities or alter or

destroy evidence in certain Federal investigations,” S. REP. NO. 107-146, at 2 (2002)

(emphasis added).

      In Yates, the Supreme Court narrowly construed the term “tangible object” as

set forth in 18 U.S.C. § 1519, which penalized a person who:

      knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or
      makes a false entry in any record, document, or tangible object with the
      intent to impede, obstruct, or influence the investigation or proper
      administration of any matter within the jurisdiction of any department
      or agency of the United States . . .

18 U.S.C. § 1519. Keeping in mind that Congress designed the Sarbanes-Oxley Act

with a “trained [] attention on corporate and accounting deception and cover- ups,”

the Court held that the Act did not contemplate penalizing the act of tossing

undersized fish overboard to avoid the consequences of an inspection by federal

authorities. Id. at 532. Rather, in the context of the statute’s purpose, a “tangible

object” must be one used to record or preserve information. Id. Thus, while fish are

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tangible objects in the lay sense of that phrase, they do not qualify as tangible objects

under §1519 given the broader context of the Sarbanes-Oxley Act. In rendering the

Yates decision, the Supreme Court clearly telegraphed that legal terms are to be

narrowly construed given the legislative history and purpose of the Sarbanes-Oxley

Act.

       In short, when considering the Act’s preamble and legislative history, it is

clear that §1512(c) was aimed at preventing corporations from destroying records

relevant to a federal hearing related to the administration of justice. The legislative

background of §1512(c) makes plain that it was not intended to apply in all

circumstances where any government function may have been impeded, and given

this context, the certification of the Electoral College votes does not qualify as an

“official proceeding” under the statute.

             d. Other Tools of Statutory Interpretation Support Mr. Alam’s Motion to
                Dismiss

       Sections 1512 and 1515 are contained in Chapter 73 of Title 18 of the United

States Code. Examining the surrounding statutory provisions in Chapter 73 further

supports Mr. Alam’s interpretation of the statute at issue.6 Several of the subsections




       6
                See NASDAQ Stock Mkt., LLC v. Sec. & Exch. Comm’n, 961 F.3d 421, 426 (D.C.
Cir. 2020)(quoting Util. Air Regulatory Grp. V. E.P.A., 573 U.S. 302, 321 (2014))(“A statutory
provision that may seem ambiguous in isolation is often clarified by the remainder of the
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of Chapter 73 explicitly relate to the administration of justice. See 18 U.S.C. §§ 1503,

1504 (Influencing or injuring a juror); §1513 (Retaliating against a witness, victim

or informant); § 1521 (Retaliating against a federal judge or law enforcement officer

by false claim or slander of title). There is even a statute within Chapter 73 that

prohibits “picketing or parading” near the residence of a judge, juror, witness, or

court officer “with the intent of interfering with, obstructing, or impeding the

administration of justice.” 18 U.S.C. § 1507 (emphasis added). All of these laws are

related to the obstruction of the administration of justice. Section 1512(c) falls right

within their midst.

           e. Alternatively, Section 1512(c)(2) is Unconstitutionally Vague


       Under the same principles of United States v. Johnson, 576 U.S. 591 (2015)

and its progeny, 18 U.S.C. § 1512(c)(2) violates due process because it is vague and

does not provide fair notice to Mr. Alam as to the conduct it punishes. Section

1512(c)(2) provides that:


       Whoever corruptly –




statutory scheme[,] because only one of the permissible meanings produces a substantive effect
that is compatible with the rest of the law.”).


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             (1) alters, destroys, mutilates, or conceals a record, document, or
      other object, or attempts to do so, with the intent to impair the object’s
      integrity or availability for use in an official proceeding; or

            (2) Otherwise obstructs, influences, or impedes any official
      proceeding, or attempts to do so, . . . shall be fined . . . or imprisoned . . .

18 U.S.C. §§ 1512(c)(1) and (2).

      First, §1512(c) uses words throughout both subsections that require courts to

speculate as to their meaning in the context of the defendant’s particular actions. To

wit, courts must speculate as to the meaning of the word “corruptly” and the phrase

“official proceeding.” Perhaps more problematic is the residual clause of subsection

(c)(2), one that is so ambiguous, requiring courts to line-draw when determining if

a defendant has “otherwise” obstructed, impeded, or influenced an official

proceeding before Congress.

      In Johnson, the Supreme Court considered the constitutionality of residual

clause of the Armed Career Criminal Act, which enhanced a defendant’s sentence if

the defendant had a conviction for a prior felony that “otherwise involved conduct

that presented a serious potential risk of physical injury to another.” Johnson, 576

U.S. at 591. In finding a due process violation, the Supreme Court explained that the

residual clause required a “wide-ranging inquiry” in each case as to what could

potentially cause injury in each set of circumstances. Johnson, 576 U.S. at 597.

Observing that the ambiguity of the residual clause resulted in disparate

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interpretations, the Supreme Court acknowledged that the “failure of persistent

efforts to establish a standard can provide evidence of vagueness.” Id. at 598.

Similarly, here, the residual clause of §1512(c) is constitutionally vague, requiring

courts to speculate and line-draw when distinguishing “official proceedings” from

mere ancillary proceedings or investigations. As discussed at length above, courts

have generally interpreted “official proceeding” to mean something more formal

than an investigation, but there has been no established standard, leaving the courts

to deal with this ambiguity.

      Further, the vagueness of the statute is not limited to the confusion that

surrounds what constitutes an “official proceeding.” The D.C. Circuit has

acknowledged that the word “corruptly” is vague on its face as used in a similar

statute, 18 U.S.C. § 1505, that prohibits obstruction of a proceeding before

departments, agencies, or congressional investigations. The court held that “in the

absence of some narrowing gloss, people must guess at its meaning and application.”

United States v. Poindexter, 951 F.2d 369, 398 (D.C. Cir. 1991). Previously, in Ricks

v. District of Columbia, 414 F.2d 1097 (D.C. Cir. 1968), the court had held that a

statute that criminalized “leading an immoral or profligate life” vague because it

found “immoral” to be synonymous with “corrupt, depraved, indecent, dissolute, all

of which would result in ‘an almost boundless area for the individual assessment of

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another’s behavior.’” Poindexter, 951 F.2d at 399 (quoting Ricks, 414 F.2d at 1097).

The court explained that various dictionary definitions of the word “corrupt” did not

reduce the confusion as to its meaning for purposes of the statute. Id. After an

assessment of the legislative history and judicial interpretation, the court concluded

that neither of those inquiries provided defendants with the constitutionally required

notice that the statute requires, and found the term vague as applied to the defendant

making false statements. Id. at 406.

      Following Poindexter, Congress amended §1515 to define “corruptly” for

purposes of §1505 only to mean “acting with an improper purpose, personally or by

influencing another, including making a false or misleading statement, or

withholding, concealing, altering, or destroying a document or other information.”

§1515(b). However, this amendment did not resolve the vagueness that still exists in

§1512 as Congress did not amend §1515 as it applies to §1512.

      Even though the D.C. Circuit later held that the word “corruptly” was not

vague as applied, it was because in that case the defendant influenced a witness,

which fits squarely within the non-vague category that Poindexter established. See

United States v. Morrison, 98 F.3d 619, 630 (D.C. Cir. 1996). In Morrison, the

defendant tried to influence a witness’s testimony and “exhorted her to violate her

legal duty to testify truthfully in court.” Id. The Poindexter Court explained that

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influencing another to “violate their legal duty” was not vague because “it would

both take account of the context in which the term ‘corruptly’ appears and avoid the

vagueness inherent in words like ‘immorally.’” Poindexter, 951 F.2d at 379.

However, Morrison was not faced with the question of what “corruptly” means in

the context of §1512(c) and does not resolve the ambiguity that the word presents in

conjunction with the rest of the statute. Even taking “corruptly influences” together

is still vague because “influence” alone is another vague word and means something

different than “influencing another to violate their legal duty” as described in §1515.

       Further, analyzing the government’s approach to charging defendants with a

violation of §1512(c)(2) arising out of events on January 6, 2021, illustrates how

vague and arbitrary the enforcement of this statute can be. Initially, it seemed that

the government was only charging those individuals who had entered the Senate

chamber7 with a §1512(c)(2) violation. However, a snapshot of some of defendants

that have been charged with a violation of §1512(c)(2) brings the inconsistencies

into stark relief.

       (1) United States v. Isaac Sturgeon, 21-cr-91, Mr. Sturgeon is alleged to have

assisted in pushing a barricade outside the Capitol building but never entered the



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               The ceremonial Electoral College certification took place in the Senate Chamber.


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Senate chamber, never went inside the Capitol building, and never made any threats

to law enforcement or on social media suggesting he wished to disrupt the vote. Mr.

Sturgeon is not alleged to be part of the Oath Keepers or the Proud Boys.

      (2) United States v. Kenneth Grayson, 21-cr-224, Mr. Grayson is alleged to

have entered the Capitol building, but not alleged to have entered the Senate

chamber. Prior to January 6, 2021, he allegedly wrote in a private message, “I am

there for the greatest celebration of all time after Pence leads the Senate flip! OR IM

THERE IF TRUMP TELLS US TO STORM THE FUKIN CAPITOL IME DO

THAT THEN!”

      (3) United States v. Benjamin Larocca, 21-cr-317, Mr. Larocca allegedly

entered the Capitol building while screaming “Our House!” He was with an

individual who was allegedly yelling, “You fucking oath breakers!” Mr. Larocca is

not alleged to have entered the Senate floor and is not a member of the Proud Boys

or Oath Keepers.

      (4) United States v. Sean Michael McHugh, 21-cr-436, Mr. McHugh allegedly

employed bear spray in direction of officers and yelled insults at officers. He also

allegedly used a megaphone and engaged the crowd with chant, such as “our house!”

There is no evidence he entered the Capitol building or the Senate floor.




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        (5) United States v. Dale Jeremiah Shalvey, 21-cr-334, Mr. Shalvey allegedly

entered the Senate chamber and is captured on video rummaging through Senator

Cruz’s notes. However, he is not alleged to be a part of the Oath Keepers or the

Proud Boys.

        As illustrated by these cases, the facts and circumstances of each vary

drastically from each other and make it clear that the government’s charging

decisions are inconsistent. Some cases allege entry into the Capitol building while

others do not. More importantly, the government does not specify what “influence”

these defendants had or how exactly they “impeded.”

        The inconsistent charging decisions along with the inherently vague words of

the statute, as well as the “residual clause” that is the basis for charging Mr. Alam

all show that 18 U.S.C. § 1512(c)(2) is unconstitutionally vague and does not provide

fair notice to Mr. Alam.


   V.      The Court Should Dismiss Counts Six, Seven & Eight Alleging
           Offenses Committed within A Restricted Building

        Count Six of the First Superseding Indictment charges Mr. Alam with a

violation of 18 U.S.C. § 1752(a)(1) as follows:

        On or about January 6, 2021, within the District of Columbia, Zachary
        Jordan Alam, did unlawfully and knowingly enter and remain in a
        restricted building and grounds, that is, any posted, cordoned-off, and
        otherwise restricted area within the United States Capitol and its
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      grounds, where the Vice President was temporarily visiting, without
      lawful authority to do so, and during and in relation to the offense, did
      use and carry a deadly and dangerous weapon, that is, a helmet.

ECF Dkt. No. 36, 3-4.

      Count Seven of the First Superseding Indictment charges Mr. Alam with a

violation of 18 U.S.C. § 1752(a)(2) as follows:

      On or about January 6, 2021, within the District of Columbia, Zachary
      Jordan Alam, did knowingly, and with intent to impede and disrupt the
      orderly conduct of Government business and official functions, engage
      in disorderly and disruptive conduct in and within such proximity to,
      restricted building and grounds, that is, any posted, cordoned-off, and
      otherwise restricted area within the United States Capitol and its
      grounds, where the Vice President was temporarily visiting, when and
      so that such conduct did in fact impede and disrupt the orderly conduct
      of Government business and official functions, and, during and in
      relation to the offense, did use and carry a deadly and dangerous
      weapon, that is, a helmet.

ECF Dkt. No. 36, 4.

      Count Eight of the First Superseding Indictment charges Mr. Alam with a

violation of 18 U.S.C. § 1752(a)(4) as follows:

      On or about January 6, 2021, within the District of Columbia, Zachary
      Jordan Alam, did knowingly, engage in any act of physical violence
      against any person and property in a restricted building and grounds,
      that is, any posted, cordoned-off, and otherwise restricted area within
      the United States Capitol and its grounds, where the Vice President was
      temporarily visiting, and, during and in relation to the offense, did use
      and carry a deadly and dangerous weapon, that is, a helmet.

ECF Dkt. No. 36, 4-5.

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      These charges concern certain conduct related to statutorily “restricted

building or grounds.” 18 U.S.C. § 1752(c) provides the following definition:

             (1) the term “restricted building or grounds” means any posted,
                 cordoned off, or otherwise restricted area –

             (A) of the White House or its grounds, or the Vice President’s
                 official residence or grounds;

             (B) of a building or grounds where the President or other
                 person protected by the Secret Service is or will
                 temporarily be visiting; or

             (C) of a building or grounds so restricted in conjunction with an
                 event designated as a special event of national significance.

18 U.S.C. § 1782(c)(1)(A)-(C) (emphasis added).

      The United State Capitol and its grounds are not specifically included in the

definition set forth above. Rather, the government alleges that the Capitol was a

“restricted building and grounds” on January 6th because it was a “building or

grounds where the President or other person protected by the Secret Service is or

will temporarily be visiting.” 18 U.S.C. § 1752(c)(1)(B). The “other person,” as set

forth in the Indictment, was then-Vice President Michael Pence. Accordingly, Mr.

Alam did not violate §1752 unless then-Vice President Pence was 1) “visiting” or

“temporarily visiting” the specific area that Mr. Alam traversed; and 2) the Secret

Service designated that area as a restricted zone. The government cannot establish

either element for the reasons that follow.
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          a. Vice President Pence was not “temporarily Visiting the Capitol


      Then -Vice President Pence was not “temporarily visiting” the Capitol on

January 6, 2021. The Capitol is a federal government building in the District of

Columbia. Vice President Pence lived and worked in D.C. at his official residence,

and actually worked at the Capitol Building and grounds – it was his place of

employment. Vice President Pence had a permanent office “within the United States

Capitol and its grounds,” in his capacity as President of the Senate. On January 6 th,

Vice President Pence was working -- he was presiding in the Senate chamber to

count the electoral votes. See U.S.C. § 15 (“Congress shall be in session on the sixth

day of January succeeding every meeting of the electors. The Senate and House of

Representatives shall meet in the hall of the House of Representatives at the hour of

1 o’clock in the afternoon on that day, and the President of the Senate shall be their

presiding officer.”) (emphasis added).

      Past cases support this plain, common-sense reading of the statute, as they

involve conduct in or near areas where the President and Vice President were clearly

“temporarily visiting.” See United States v. Bursey, 416 F.3d 301 (4th Cir. 2005)

(defendant entered and remained in a restricted area at an airport in South Carolina

where the President was visiting for a political rally); United State v. Junot, 902 F.2d

1580 (9th Cir. 1990) (defendant pushed his way through a restricted area where then-
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Vice President George Bush was speaking at a rally at a park in Los Angeles that

was secured by Secret Service agents); Blair v. City of Evansville, Ind., 361 F. Supp.

2d. 846 (S.D. Ind. 2005) (defendant charged with 18 U.S.C. § 1752 at protest during

then-Vice President Richard Cheney’s visit to the Centre in Evansville, Indiana).

These cases all involve the President and Vice President traveling outside of the

District of Columbia and “visiting” that area for a “temporary” purpose, consistent

with the plain meaning of §1752(c)(1)(B). Vice President Pence was not traveling

to a speaking event or political rally on January 6th – rather he was performing a duty

of his office in a building where he had a permanent office. Based on the plain

language of 18 U.S.C. § 1752, he was not “temporarily visiting” the Capitol building

and §1752 does not apply as charged.

             b. The Secret Service did not “Restrict” the Capitol or its Grounds on
                January 6th

       The legislative history of 18 U.S.C. § 1752 and the statutory authorization of

18 U.S.C. § 30568 make it clear that only the United States Secret Service (“Secret

Service”) can restrict areas for temporary visits by the President or Vice President.

A particular place does not become restricted just because the Vice President enters




       8
        This statute authorizes the Secret Service to protect high-ranking officials, including the
Vice President.

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it; rather, the Secret Service, the agency in charge of protecting the Vice President,

must create the temporary restricted zone to facilitate its duty to protect. Indeed, the

Government has specifically argued that it is the “Secret Service” that “exercise[s]

its discretion to determine the scope of the restricted area necessary to protect” a

designated person. United States v. Jabr, Cr. No. 18-105 (PLF), ECF #26 at page 9.

The Government does not allege that any of the barriers that Mr. Alam allegedly

crossed were specifically erected for the Vice-President’s visit at the direction of the

Secret Service. On January 6, 2021, the restrictions placed on the Capitol were

created by the Capitol Police, not the Secret Service.9 As such, a necessary factual

predicate to an 18 U.S.C. § 1752 offense is lacking, and Counts Six, Seven and Eight

must be dismissed for failure to state a claim.




       9
                Additional legislative history and language also confirm that the “posted, cordoned
off, or otherwise restrict area[s]” must be created by the Secret Service to trigger the statute. As
originally passed in 1970, the statute, 84 Stat. 1891, authorized the Treasury Department, which
included the Secret Service at that time, to prescribe regulations for restricting grounds where the
President and other protected leaders would visit. See 18 U.S.C. § 1752(d)(2); 84 Stat. 1891.
Accordingly, the Treasury Department implemented numerous regulations, including
requirements that the Secret Service designate certain “temporary residences” and “temporary
offices” of their protectees and provide “notice to prospective visitors.” 31 C.F.R. § 408.2(c). In
2006, Congress, likely because the Secret Service was reassigned to the Department of Homeland
Security, repealed subsection (d) of §1752, which authorized the Treasury Department to
promulgate regulations. See Pub. L. 109-177, Title VI, Sec. 602, 120 Stat. 252 (March 9, 2006).
Nonetheless, the clear legislative intent behind §1752 from the date of its enactment was to provide
the Secret Service with authorization to create temporary protected zones to facilitate its role in
protecting the President and other protectees.


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   VI.     Conclusion

      For the reasons set forth above, Mr. Alam respectfully requests that this

Honorable Court grant the foregoing motion to dismiss.


                                     Respectfully submitted,

                                           /s/
                                     ______________________
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this day, July 13, 2022, a copy of the foregoing was

sent via ECF to the United States Attorney’s Office for the District of Columbia.

                                                        /s/
                                                   ______________________
                                                   Michael E. Lawlor




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